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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                      Plaintiff,                      )     8:05CR139
                                                      )
              vs.                                     )     ORDER TO RELEASE
                                                      )     BAIL BOND
DENNIS E. CAMPBELL,                                   )
                                                      )
                      Defendant.                      )


       Pursuant to the sentencing hearing held December 7, 2006, and on oral motion of the

Plaintiff, the bail bond posted by the Defendant on January 31, 2006, (Filing No. 72), is hereby

released.

       Dated this 16th day of February, 2007.

                                                      BY THE COURT:



                                                      s/Joseph F. Bataillon
                                                      JOSEPH F. BATAILLON, CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT
